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                      UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                          TAMPA DIVISION

 UNITED STATES OF AMERICA

 v.                                               CASE NO: 8:06-cr-464-T-EAK-TGW

 ROBET LEE WILLIAMS


  Order Granting Defendant’s Unopposed Motion for Prison-Term Reduction Under
                18 U.S.C. § 3582(c)(2) Based on USSG Amend. 782

        Before the Court is the defendant’s motion to reduce his prison term under 18 U.S.C.

 § 3582(c)(2) based on USSG Amend. 782, a retroactive guideline amendment, see USSG

 §1B1.10(d) (2014). Doc. 757. The United States does not oppose a reduction of thirty-seven

 (37) months. Doc. #757. The Court agrees that he is eligible for a reduction and adopts the

 amended guideline calculations. Doc. #757.

        Having reviewed the facts in both the original presentence investigation report and the

 February 18, 2016 memorandum from the United States Probation Office in light of the

 factors in 18 U.S.C. § 3553(a) and the need to consider the nature and seriousness of any

 danger posed by a reduction, see USSG §1B1.10, comment. (n.1(B)(ii)), the Court finds that

 a reduction of 37 months is warranted. Consistent with USSG §1B1.10(e)(1).

        Thus:

        (1)     The Court grants the defendant’s motion for 37 months, Doc. 757.

        (2)     The Court reduces the defendant’s prison term from 188 to 151 months or

                time served, whichever is greater.
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                DONE AND ORDERED in Chambers in Tampa, Florida this 17th day of

 March, 2016.




       Copies furnished to: All Counsel of Record
